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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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IN THE MATTER OF THE SEARCH OF
VARIOUS ELECTRONIC DEVICES
CURRENTLY STORED AT 200 ST.
PAUL PLACE SUITE 2222 BALTIMORE,
MARYLAND 21202

Case No.

 

AFFIDAVIT IN SUPPORT OF A SEARCH AND SEIZURE WARRANT
I, Thornas Stevens, being first duly swom, do hereby state and declare as follows:

l. This is an Affidavit in support of a search and seizure warrant authorizing the
search of the following materials_. which are also listed in Attachment A. As detailed further below,
the items were recovered following the execution of a search warrant for 6603 ENGLISH OAK
ROAD_. APARTMENT ], BALTIMORE, MARYLAND (“Location l”) and Shawn OL|VER’s

vehicle a 2008 Volkswagen Passat, V|N WVWTK73C28E154634 (“Loeation 2”). The items are

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

as follows:

Item Number Description Location

“Cell Phone l” iPhone, IMEI: 0139850081336|0 Location l

“Cell Phone 2"` Samsung F|ip Phone, ESN:lZSl 1798654, Location 2
ME]D: A000004773C62D

“Cel| Phone 3” Coolpad Phone, Phone number: (424) 541-2818, Location l
ESN: 34260e25, IMEI: 862429035467230

“Cell Phone 4” ZTE Smart Phone, IME|: 862l47038640740 Location l

“Cell `Phone 5"` ZTE Smart Phone, IMEI: 8605500339906()0 Location l

“Cell Phone 6"` ZTE Smart Phone, |ME|: 860550034317894 Location l

“Cell Phone 7"` ZTE Smart Phone, |ME|: 990006830723192 Location l

“Cell Phone 8"` LG Smart Phone, |ME|:352342-O9-248986-3 Loeation l

“Cell Phone 9"` iPhone, IMEI:352020077690057 Location l

“Cell Phone l()” LG Smart Phone, Phone number: (202) 912-002l, Location l
IME|: 352342092487230

“Computer l” Toshiba Laptop Computer Location 2

“Computer 2" Dell Laptop Computer, Inspiron 1545 Location l

 

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2. The above items are hereinafter referred to collectively as the “Subject E|ectronic

Devices” and are currently stored in a secure manner at the Drug Enforcement Administration
(DEA) Baltimore District Office, located at 200 Saint Paul Plaza Suite 2222 Baltimore, MD.
3. The applied for search and seizure warrant would authorize the forensic
examination of the Subject E`.lectronic Devices for the purpose of identifying electronically stored
data listed in Attachment A. The Subject Electronic Devices will be reviewed pursuant to the
protocol described in Attachment.B. I believe probable cause exists to believe that in the Subject
Electronic Devices, there is evidence of a conspiracy to distribute and possess with intent to
distribute controlled substances, in violation of21 U.S.C. §§ 841, 846.

4. The Subject Electronic Devices have been stored in a manner in which their
contents are, to the extent material to this investigation, in substantially the same condition as when
the Subject Electronic Devices first came into the possession of the DEA. Any search of the
Subject Electronic Devices will occur in an office or laboratory setting on a premises controlled
by the DEA or their authorized representatives

5. Because this Affidavit is being submitted for the limited purpose of establishing
probable cause for the requested search warrant, l have not included every detail of every aspect
of the investigation Rather, l have set forth only those facts that l believe are necessary to establish
probable cause. l have not, however, excluded any information known to me that would defeat a
determination of probable cause. The information contained in this Affidavit is based upon my
personal knowledge, my review of documents and other evidence, and my conversations with other

law enforcement officers and other individuals A|l conversations and statements described 'in this

Affidavit are related in substance and in part unless otherwise indicated This affidavit is intended

 

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to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.
AGENT BACKGROUND

6. l am a Special Agent with the DEA dealing primarily in the investigation of
individuals who transport, sell and distribute illicit narcotics and narcotics proceeds I am therefore
an investigative or law enforcement officer ofthe United States within the meaning of 18 U.S.C.
§ 2510('/‘), that is, an officer of the United States who is empowered by law to conduct
investigations and to make arrests for offenses enumerated in l8 U.S.C. § 2516. l have been a
sworn Special Agent with the DEA for more than nine years l have initiated and participated in
many drug investigations and l have participated in the execution of numerous federal and state
search warrants and participated in the arrest of many individuals for violations of federal and
state narcotics laws Through hundreds of surveillances and interviews, l am familiar with the
actions, traits, habits and terminology utilized by traffickers of controlled dangerous substances
Additionally, l have extensive experience and training in the subject of narcotics trafficking

7. Based on my training and experience, l know that individuals involved with drug
trafficking frequently use cellular telephones, communication devices and other electronic media
to further their drug trafficking activities ln particular, l know that cellular phones are employed
by drug traffickers to communicate with criminai associates and to facilitate drug trafficking l
also know from my training and experience in investigating drug trafficking organizations that the
call histories/stored numbers and stored text messages of cellular phones often yield evidence that
leads to the identification of co-conspirators. In addition, I know based on my training and
experience that narcotic traffickers frequently maintain and use numerous electronic devices

(especially cellular telephones) in an effort to conceal their activities Such electronic devices are

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likely to contain evidence of their communications (by telephone, text message, emai|, social
media, or otherwise) with customers, suppliers, and co-conspirators. E|ectronic devices kept by
drug traffickers are also likely to contain the names, addresses emai| addresses and/or telephone
numbers of associates and co-conspirators. Further, narcotics traffickers often take or cause to be
taken photographs of themselves, their associates their property and their drugs These traffickers
usually maintain these photographs in their possession, in locations such as their homes, vehicles
electronic devices, or on their person.

8. Based on my knowledge, training, and experience, I also know that individuals
involved in the illegal distribution of dangerous controlled substances often keep and maintain
records of their various illegal activities These records take various fonns. For examp|e, records
commonly concealed by traffickers, include but are not limited to: notes in code, deposit slips,
records of wired money transactions savings pass books, hidden bank accounts, photographs of
co-conspirators, various forms of commercial paper, personal address books, notebooks, receipts,
|edgers, travel receipts (rental receipts, airline tickets, bus tickets, and/or train tickets), money
orders and other documents relating to the ordering, transportation, sale and distribution of
controlled dangerous substances which may contain identifying data of the co-conspirators. in
addition, l am aware that narcotics traffickers frequently maintain these records for long periods
of time; Sometimes even years after the drug transactions are complete. Additional|y, narcotics
traffickers commonly maintain books, records and other documents that identify and contain the
names, addresses and/or telephone numbers of associates in their narcotics-trafficking or money-
iaundering activities including: but not limited to: address books, telephones cel|phones, iPads,

Tablets, computers, or personal digital assistants with stored telephone information, notes

 

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refiecting telephone numbers, photographs (to include still photo's, negatives, movies, slides, video
tapes, and undeveloped film)_
PROBABLE CAUSE
1 9. ln December of2017, DEA Detroit Field Division Strike Force Group 3, contacted
Baltimore HIDTA group 56 regarding the activities of lames MCGLORY, the leader of a Drug
Trafficking Organization (DTO) based in San Bernardino, California. ln connection with the
' investigation, l received information from DEA Detroit about an individual named .lames
McGlory. Some ofthe information was as follows: on July 10, 2017, members of DEA Detroit,
Michigan executed a federal search warrant on a stash house in Novi, Michigan and DEA Detroit
seized thirty-four (34) kilograms of heroin/fentanyl mix, approximately $500,000..00, and arrested
three (3) individuals In the driveway of the residence was a vehicle, which was also searched.
Investigators seized one (l) kilogram of cocaine from the vehic|e. A palm-print analysis was
performed on the one (l) kilogram of cocaine from the vehicle and the palm-print was a match to
that of .lames McGlory, born in 1985. Additionally, historical cell cite data reveals that Manjaro
Johnson, a member ofthe MCGLORY DTO possessed a cellular phone that was in the vicinity of
the Novi stash house on numerous occasions, where the above-described narcotics were recovered,
in the days and weeks prior to the execution of the search warrant. Additionally investigators
identified David Griffin as ~a co-conspirator and member of the MCGLORY DTO.
lO. Based on this information, DEA Baltimore began investigating the travel patterns
of McG|ory and .lohnson. DEA Baltimore determined that McGlory and Johnson were travelling
to Maryland earlier on approximately April l l and April l2. Thereafter, when .lohnson arrived in
Maryland on April ll, 20l 3, DEA surveilled Johnson and co-conspirator Griffin to a Comfort lnn

in Towson, Mary|and. On April i2, 2018, McGlory travelled to Maryland and travelled to that
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same Comfort lnn. Also on April 12, 2018, DEA surveilled the vicinity of 6603 ENGLISH OAK
ROAD, BALTIMORE, MARYLAND and investigators observed Griffin’s vehicle, a Nissan
Altima. On the morning of Apri| 13, 2018, investigators observed Shawn O|iver enter a building
in the vicinity of._6603 ENGLISH OAK ROAD, BALTIMORE, MARYLAND while carrying a
weighted bag that appeared to contain a box.

1 l. Thereafter, on April 13, 2018 investigators observed Griffin and McGlory in the
vicinity of 6603 ENGLISH OAK ROAD, BALT|MORE, MARYLAND. More specifically,
investigators observed l\/ch|ory and Griffin walking around the side of the building and at the
time, Griffin held a trash bag that he placed in the trash outside of the building. Shortly thereafter,
investigators retrieved the trash and searched the bag. lnside of the bag was a label addressed to
6603 ENGLISH OAK ROAD, APARTMENT l, BALTll\/IORE, MARYLAND and several heat-
sealed bags and rubber gloves that the investigators know are used for narcotics trafficking
Thereafter, investigators observed McG|ory and Griffin as they entered a Nissan Altima, registered
to Griffin, and travelled back to the Comfort lnn where they met with Manjaro .lohnson in the
vicinity of the room rented by Griffin.

12; Thereafter, McGlory, Griffin and Johnson entered the Altima and travelled away
from the Comfort Inn. Investigators conducted an investigative car stop of the Altima at
approximately 1:29 on Apri| 13, 2018 in the vicinity of 6628 Collinsdale Road, Parkville,
Maryland. lnside of the car was Griffin, who was driving, McGlory_. who was in the front seat, and
Johnson who was in the rear passenger seat. Thereafter, Anne Arundel County Police K-9 Miki
#3448 conducted a sniff of the vehicle. TFO Jonathan Van Dyke determine that Miki alerted

positively to the odor of controlled dangerous substances emanating from the interior of the

vehicle. investigators searched the vehicle but did not recover any CDS.

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i3. lnvestigators asked McGlory, Griffin and .lohnson where they were coming from.
Griffin said that he came from his cousin’s house two streets away. None of the defendants
mentioned travelling to the vicinity of English Oak Road or the Comfort lnn. lnvestigators asked
Griffin for keys to the car which he provided to them. Griffin also provided an additional set of
keys On that ring, there appeared to be an apartment key. lnvestigators tested the key from Griffin
in the door to 6603 ENGLISH OAK ROAD, APARTMENT I, BALT|MORE, MARYLAND and
determined that it opened the door. Noticing that a TV was on inside of the apartment, investigators
briefly entered 6603 ENGL}SH OAK_ ROAD, APARTMENT l, BALTIMORE, MARYLAND for
their safety and to prevent the potential destruction of evidence and determined that Shawn Oliver
was inside of the apartment Oliver refused to speak to investigators The trained K-9, Kiki, also
conducted a scan of the door for the apartment Said scan was positive for the presence of the odor
CDS_

14. Based in part on the above described information, on April 13, 201 8, United States
Magistrate .ludge Stephanie Gallagher authorized a warrant to search 6603 ENGLISH OAK
ROAD, APARTMENT l, BALTIMORE, MARYLAND. lnvestigators executed the search
warrant and recovered approximately fifteen (15) kilograms of cocaine, three (3) kilograms of
heroin, half a pound of marijuana and approximately $138,749.00. lnvestigators know that the
quantities recovered are consistent with distribution of CDS. From inside of the apartment,
investigators also recovered mail addressed to Griffin (in Grif`fin’s name but sent to a different
address than 6603 ENGLISH OAK ROAD) and mail addressed to Oliver (in Oliver’s name but
sent to a different address than 6603 ENGLISH OAK ROAD). Additionally, investigators

recovered a kilogram press used to package wholesale quantities of narcotics and a money counter,

often used to count narcotics proceeds Additionally, as enumerated in the above chart, many of

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the Subject Electronic Devices were recovered from 6603 English Oak Road, Apartment I
(“Location l’r’).

15. Additiona|ly, on Aprii 24, 2018, United States Magistrate Judge A. David
Copperthite authorized a warrant to search Oliver’s vehicie, a 2008 Volkswagen Passat, V|N
WVWTK73C28E154634 (“Location 2"`). lnvestigators later executed that search warrant and two
of the Subject Electronic Devices were recovered from inside of Location 2.

16. l know based on my training and experience, that drug traffickers use cellular

telephones and other electronic devices such as tablets to coordinate with suppliers customers

and co-conspirators and frequently switch phones or utilize multiple cellular telephones to evade 7

law enforcement. Additionally, l am aware that drug traffickers use cellular telephones to
communicate the patterns of activity of drug traffickers the types and amounts of profits made by
drug dealers and the methods, language and terms that are used to disguise the source and nature
of the profits from their illegal drug dealings Drug traffickers also utilized numerous cellular
devices to thwart potential surveillance by law enforcement. Last|y, 1 know based on my training
and experience that narcotics traffickers are increasingly relying on alternative modes of
communication employed on electronic devices (cellular phones, tables and computers), such as
the Blackberry Messenger system_. Snapchat, WhatsApp and other programs in order to evade
detection by law enforcement. Based on my knowledge of the investigation into OIiver and Griffin
and the above-described information, l believe that the Subject Electronic Devices will contain

evidence of drug trafficking

 

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` 17. Based on the information set forth in this affidavit, l believe probable cause exists
to believe that in the Subject_Electronic Devices, there is evidence of a conspiracy to distribute and
possess fwith intent to distribute controlled substances in violation of 21 U.S.C. §§ 841, 846.

18. WHEREFORE, in consideration of the facts presented, l respectfully request that
this Court issue a search warrant for the Subject Electronic Devices, and authorize the search and
the seizure of_ the items described in Attachments A, according to the protoco|s set forth in
Attachment B, where applicable, which constitute fruits evidence and instrumentalities of

violations of21 U.S.C. §§ 841, 846, which prohibit the conspiracy to distribute and possess with

intent to distribute controlled substances

 

 
    

 

   
  

Sworn to before me this é§ day ofJune, 2018. / ll
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ATTACHMENT A

` Items to be Searched

 

The following items (collectively, “the Subject Electronic Devices"'):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ltem Number Description Location
“Cell Phone 1” iPhone, |ME1:013985008133610 Location l
“Cell Phone 2” Samsung Flip Phone, ESN:1281 1798654, Location 2
ME|D: A000004773C62D
“Cell Phone 3” Coolpad Phone, Phone number: (424) 541-2818, Location l.
ESN: 34260e25, IMEI: 862429035467230
“Ce|l Phone 4” Z¢TE Smart Phone_. |ME|: 86214703 8640740 Location l
“Cell Phone 5" ZTE Smart Phone, |ME|: 860550033990600 Location l
“Cell Phone 6” ZTE Smart Phone, lMEi: 860550034317894 Location l
“Cell Phone 7" ZTE Smart Phone, lMEl: 990006830723192 Location l
“Cel| Phone 8” LG Smart Phone, IME|:352342-09-248986-3 Location l
“Cel| Phone 9” iPhone, lMEl:352020077690057 Location l
“Cel| Phone 10” LG Smart Phone, Phone number: (202) 912-0021, Location l
lllel: 352342092487230
“Computer l” Toshiba Laptop Computer, Location 2
“Computer 2” Dell Laptop Computer, lnspiron 1545 Location 1

 

 

 

which are currently stored in a secure manner in at the Drug Enforcement .Administration
Baltimore District Office, 200 Saint Paul Plaza Suite 2222 Baltimore, MD 21202 shall be searched
according to the protocol listed on Attachment B for evidence relating to the offense of conspiracy
to distribute and possess with the intent to distribute cocaine and other controlled dangerous

substances

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A'I"I`ACHMENT B

Search Protocols

 

This warrant authorizes the search and seizure of the following electronically stored

information, contained within the items described in Attachment A:

a.

b.

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k.

digital images;

digital videos;

records ofincoming and outgoing voice communications;

records ofincoming and outgoing textmessages/MMS;

the content of incoming and outgoing text messages/MMS;

voicemails;

e-rnails;

voice recordings

records related to the trafficking of controlled and dangerous substances including but not
limited to: notes in code, deposit slips records of wired money transactions savings pass
books bank accounts various forms of commercial paper, personal address books
notebooks receipts ledgers travel receipts (rental receipts airline tickets bus tickets
and/or train tickets), money orders and other documents relating to the ordering and
transportation of drugs names addresses and/or telephone numbers of associates

contact lists; and

location data;

relating to the offenses of conspiracy to distribute and possess with the intent to distribute heroin,
as more fully described in the Affidavit.

With regard to the cellular phones and tablets the devices will be charged and powered on.

The device and all readable and searchable contents will be downloaded to a “CelleBrite,” “XRY,”
or similar device. The “Cel|eBrite,” “XRY,” or similar device allows the user to bypass any
password protected utility on the phone. The contents downloaded on the “Ce|leBrite,” “XRY,"`

 

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or similar device will then be copied to a readable computer disc and reviewed by your affiant. A
search warrant return will be provided to the Court thereafter. 7

Because of the possibility that the files examined pursuant to the warrant will include
information that is beyond the scope of what the United States has demonstrated the existence
probable cause to search for, the search shall be conducted in a manner that will minimize to the
greatest extent possible the likelihood that files or other information for which there is not probable
cause to search is not viewed. `

While this protocol does not prescribe the specific search protocol to be used, it does
contain limitations to what the government investigators may view during their search, and the
searching investigators shall be obligated to document the search methodology used in the event
that there is a subsequent challenge to the search that was conducted, pursuant to the following
protocol.

With respect to the search of any di gita|ly/electronically stored information that is seized
pursuant to this warrant, and described in Attachment A hereto, the search procedure shall include
such reasonably available techniques designed to minimize the chance that the government
investigators conducting the search will view information that is beyond the scope for which the
probable cause exists

The following list oftechniques is a non-exclusive list which illustrates the types of search
methodology that may avoid an overbroad search, and the government may use other procedures
that, like those listed below, minimize the review of information not within the list of items to be
seized as set forth herein: -

a. Use of computer search methodology to conduct an examination of all the data contained
in such computer hardware, computer software, and/or memory storage devices to
determine whether data falls within the items to be seized as set forth herein by specific
date ranges names of individuals or organizations

b. Searching for and attempting to recover any deleted, hidden, or encrypted data to determine
whether that data falls within the list of items to be seized as set forth herein;

c. Physical examination of the storage device, including digitally surveying various file
directories and the individual files they contain to determine whether they include data
falling within the list ofitems to be seized as set forth herein; and

d. Opening or reading portions of files that are identified as a result of conducting digital
search inquiries in order to determine their relevance

 

